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                               UNITED STATES DISTRICT COURT

                               WESTERN DISTRICT OF LOUISIANA

                                       MONROE DIVISION

  DANIEL L. DIXON                                      CIVIL ACTION NO. 13-2776

  VERSUS                                               JUDGE ROBERT G. JAMES

  HOME DEPOT U.S.A, ET AL.                             MAG. JUDGE KAREN L. HAYES

                                               ORDER

          Pending before the Court is Plaintiff’s Motion in Limine “to Exclude attacks on Plaintiff’s

  Counsel and Allegations of Conspiracy.” [Doc. No. 89]. Upon consideration and for the reasons set

  forth in this Court’s Ruling,

          IT IS HEREBY ORDERED that Plaintiff’s Motion is GRANTED IN PART and DENIED

  IN PART. The Motion is GRANTED to the extent it seeks to prohibit Defendants from referring

  to the following at trial:

          1.      Other lawsuits in which Plaintiff’s counsel has represented or is currently
                  representing different clients who are suing various table saw manufacturers on
                  behalf of persons injured while using a table saw.

          2.      The alleged motives of Plaintiff’s counsel in prosecuting this or other similar
                  lawsuits.

          3.      Any mention that Plaintiff’s counsel and Dr. Stephen Gass (“Dr. Gass”) are involved
                  in a “joint venture” or “conspiracy.”

          4.      Ad hominum attacks on Plaintiff’s counsel, including referring to the fact that
                  Plaintiff’s counsel is from Texas.

          5.      The fact that Dixon has not called Dr. Gass as a live witness in this case, and any
                  speculation as to why.

          6.      The December 23, 2004, Oregonian newspaper article.

  The Motion is DENIED to the extent it seeks an order specifying that Defendants and their counsel
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  will be subject to severe sanctions for violations of this Order.

         IT IS FURTHER ORDERED that, in light of this Court’s previous Ruling and Judgment

  [Doc. Nos. 129 & 130], neither party shall mention Dr. Gass, for any purpose.

         MONROE, LOUISIANA, this 10th day of June, 2015.
